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UNITED STATES BANKRUPTCY COURT
SOUTHERN DIS'I`RICT OF GEORGlA

In re:

NANYA PATEL AND VINOD PATEL, Case No. l6-l 1274

)
)
) Chapter 13
Debtor )

ORDER ON MOTION FOR PRELIMINARY APPROVAL OF U.S. SMALL
BUSINESS ADMINISTRAT!ON OFFER-IN-COMPROMISE

The within and foregoing Motion for Preliminary Approval of U.S. Small
Business Administration Offer-in-Compromise (“Debtors’ Motion”) seeks
preliminary approval of an offer to the SBA Creditor wherein (l) Debtors would pay
Creditor $30,000 in cash and (2) Debtors would sell their 2007 Lexus EX 350 and
2007 Toyota Tundra and remit all of the net proceeds to the SBA or, alternatively,
should the SBA and/or Creditor prefer, Debtors would transfer title to the 2007 Lexus
Ex 350 and 2007 Toyota Tundra to the Creditor as having been considered, and

Debtors’ Motion having been considered and it appearing to the Court that the
preliminary approval of the U.S. Small Business Administration Of`fer-in-

Compromise is necessary and beneficial to the interest of this estate,

IT IS TI'IEREFORE ORDERED, that the Debtor's Motion for Preliminary
Approval of U.S. Sma|l Business Administration Offer-in-Compromise is hereby
GRANTED.

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Presented by:

/s/ Charles W. Wills

Charles W. Wills

Attomey for Creditor

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